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                                 10                         UNITED STATES DISTRICT COURT
                                 11
                                                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 12
                                       PORTIA MASON, individually and
3055 Wilshire Blvd, 12th Floor




                                                                                 CASE NO.:
Los Angeles, CA 90010-1137
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                                 13    on behalf of all others similarly
                                       situated,
                                 14                                                      CLASS ACTION COMPLAINT
                                                            Plaintiff,                1. VIOLATIONS OF THE
                                 15
                                             v.                                          AMERICANS WITH
                                 16                                                      DISABILITIES ACT OF 1990, 42
                                 17    NITORI USA, INC., d/b/a Aki-Home,                 U.S.C. §12181
                                       a California corporation; and DOES 1           2. VIOLATIONS OF THE UNRUH
                                 18    to 10, inclusive,                                 CIVIL RIGHTS ACT
                                 19                                                      DEMAND FOR JURY TRIAL
                                                           Defendants.
                                 20
                                 21
                                 22          Plaintiff Portia Mason (“Plaintiff”), individually and on behalf of all others
                                 23    similarly situated, brings this action based upon personal knowledge as to herself
                                 24    and her own acts, and as to all other matters upon information and belief, based
                                 25    upon, inter alia, the investigations of her attorneys.
                                 26    ///
                                 27    ///
                                 28    ///
                                                                                  1
                                                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                               NATURE OF THE ACTION
                                  2          1.     Plaintiff is a visually-impaired and legally blind individual who
                                  3    requires screen-reading software to read website content using her computer.
                                  4    Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with
                                  5    visual impairments who meet the legal definition of blindness in that they have a
                                  6    visual acuity with correction of less than or equal to 20 x 200. Some blind people
                                  7    who meet this definition have limited vision. Others have no vision.
                                  8          2.     Plaintiff, individually and on behalf of those similarly situated persons
                                  9    (hereafter “Class Members”), brings this Class Action to secure redress against
                                 10    NITORI USA, INC., d/b/a Aki-Home (hereafter “Defendant”), and DOES 1-10, for
                                 11    its failure to design, construct, maintain, and operate its website to be fully and
                                 12    equally accessible to and independently usable by Plaintiff and other blind or
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                                       visually-impaired people. Defendant’s denial of full and equal access to its website,
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                                 13
                                 14    and therefore denial of its products and services offered thereby and in conjunction
                                 15    with its physical locations, is a violation of Plaintiff’s rights under the Americans
                                 16    with Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).
                                 17          3.     Because Defendant’s website, https://aki-home.com/ (the “Website”
                                 18    or “Defendant’s website”), is not fully or equally accessible to blind and visually-
                                 19    impaired consumers in violation of the ADA, Plaintiff seeks a permanent injunction
                                 20    to cause a change in Defendant’s corporate policies, practices, and procedures so
                                 21    that Defendant’s website will become and remain accessible to blind and visually-
                                 22    impaired consumers.
                                 23                                      THE PARTIES
                                 24          4.     Plaintiff, at all times relevant and as alleged herein, is a resident of the
                                 25    County of Los Angeles. Plaintiff is a legally blind, visually-impaired, handicapped
                                 26    person, and a member of a protected class of individuals under the ADA, pursuant
                                 27    to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA set forth
                                 28    at 28 CFR §§ 36.101 et seq.
                                                                                  2
                                                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1          5.     Defendant is a California corporation, with its headquarters in Ontario,
                                  2    California. Defendant’s servers for the website are in the United States. Defendant
                                  3    conducts a large amount of its business in California, and the United States as a
                                  4    whole. Defendant’s stores constitute places of public accommodation. Defendant’s
                                  5    stores provide to the public important goods and services. Defendant’s website
                                  6    provides consumers with access to the highest quality and stylish merchandise that
                                  7    offers exceptional values for your home. Defendant’s website further allows
                                  8    consumers to access information regarding gift cards, account information, registry,
                                  9    discounts, shipping & delivery information, store locator, careers, clearance items,
                                 10    return policy, extended warranty, recall information, financing, subscriptions, and
                                 11    social media pages.
                                 12          6.     Plaintiff is unaware of the true names, identities, and capacities of each
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                                 13    Defendant sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                 14    complaint to allege the true names and capacities of DOES 1 to 10 if and when
                                 15    ascertained. Plaintiff is informed and believes, and thereupon alleges, that each
                                 16    Defendant sued herein as a DOE is legally responsible in some manner for the
                                 17    events and happenings alleged herein and that each Defendant sued herein as a DOE
                                 18    proximately caused injuries and damages to Plaintiff as set forth below.
                                 19          7.     Defendant’s stores are public accommodations within the definition of
                                 20    Title III of the ADA, 42 U.S.C. § 12181(7).
                                 21          8.     The Website, https://aki-home.com/, is a service, privilege, or
                                 22    advantage of Defendant’s services, products, and locations.
                                 23                              JURISDICTION AND VENUE
                                 24          9.     This Court has subject matter jurisdiction over the state law claims
                                 25    alleged in this Complaint pursuant to the Class Action Fairness Act, 28 U.S.C.
                                 26    §1332(d)(2)(A) because: (a) the matter in controversy exceeds the sum of $5
                                 27    million, exclusive of interest and costs; and (b) some of the class members are
                                 28    citizens of a state (California).
                                                                                 3
                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1          10.    Defendant is subject to personal jurisdiction in this District. Defendant
                                  2    has been and continues to commit the acts or omissions alleged herein in the Central
                                  3    District of California, that caused injury, and violated rights prescribed by the ADA
                                  4    and UCRA, to Plaintiff and to other blind and other visually-impaired consumers.
                                  5    A substantial part of the acts and omissions giving rise to Plaintiff’s claims occurred
                                  6    in the Central District of California. Specifically, on several separate occasions,
                                  7    Plaintiff has been denied the full use and enjoyment of the facilities, goods, and
                                  8    services of Defendant’s website in Los Angeles County. The access barriers
                                  9    Plaintiff has encountered on Defendant’s website have caused a denial of Plaintiff’s
                                 10    full and equal access multiple times in the past and now deter Plaintiff on a regular
                                 11    basis from accessing Defendant’s website. Similarly, the access barriers Plaintiff
                                 12    has encountered on Defendant’s website have impeded Plaintiff’s full and equal
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                                       enjoyment of goods and services offered at Defendant’s brick-and mortar locations.
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                                 13
                                 14          11.    This Court also has subject-matter jurisdiction over this action
                                 15    pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise
                                 16    under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.
                                 17          12.    This Court has personal jurisdiction over Defendant because it
                                 18    conducts and continues to conduct a substantial and significant amount of business
                                 19    in the State of California, County of Los Angeles, and because Defendant’s
                                 20    offending website is available across California.
                                 21          13.    Venue is proper in the Central District of California pursuant to 28
                                 22    U.S.C. § 1391 because Plaintiff resides in this District, Defendant conducts and
                                 23    continues to conduct a substantial and significant amount of business in this District,
                                 24    Defendant is subject to personal jurisdiction in this District, and a substantial
                                 25    portion of the conduct complained of herein occurred in this District.
                                 26      THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
                                 27          14.    The Internet has become a significant source of information, a portal,
                                 28    and a tool for conducting business, doing everyday activities such as shopping,
                                                                                  4
                                                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1    learning, banking, researching, as well as many other activities for sighted, blind,
                                  2    and visually-impaired persons alike.
                                  3          15.    In today's tech-savvy world, blind and visually-impaired people have
                                  4    the ability to access websites using keyboards in conjunction with screen access
                                  5    software that vocalizes the visual information found on a computer screen. This
                                  6    technology is known as screen-reading software.        Screen-reading software is
                                  7    currently the only method a blind or visually-impaired person may use to
                                  8    independently access the internet. Unless websites are designed to be read by
                                  9    screen-reading software, blind and visually-impaired persons are unable to fully
                                 10    access websites, and the information, products, and services contained thereon.
                                 11          16.    Blind and visually-impaired users of Windows operating system-
                                 12    enabled computers and devices have several screen-reading software programs
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                                 13    available to them. Some of these programs are available for purchase and other
                                 14    programs are available without the user having to purchase the program separately.
                                 15    Job Access With Speech, otherwise known as “JAWS,” is currently the most
                                 16    popular, separately purchased and downloaded screen-reading software program
                                 17    available for a Windows computer.
                                 18          17.    For screen-reading software to function, the information on a website
                                 19    must be capable of being rendered into text. If the website content is not capable
                                 20    of being rendered into text, the blind or visually-impaired user is unable to access
                                 21    the same content available to sighted users.
                                 22          18.    The international website standards organization, the World Wide
                                 23    Web Consortium, known throughout the world as W3C, has published Success
                                 24    Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 25    hereinafter). WCAG 2.1 are well-established guidelines for making websites
                                 26    accessible to blind and visually-impaired people. These guidelines are adopted,
                                 27    implemented, and followed by most large business entities who want to ensure their
                                 28    websites are accessible to users of screen-reading software programs. Though
                                                                                5
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                                  1    WCAG 2.1 has not been formally adopted as the standard for making websites
                                  2    accessible, it is one of, if not the most, valuable resource for companies to operate,
                                  3    maintain, and provide a website that is accessible under the ADA to the public.
                                  4            19.   Within this context, the Ninth Circuit has recognized the viability of
                                  5    ADA claims against commercial website owners/operators with regard to the
                                  6    accessibility of such websites. Robles v. Domino’s Pizza, LLC, Docket No. 17-
                                  7    55504 (9th Cir. Apr 13, 2017), Court Docket No. BL-66. This is in addition to the
                                  8    numerous courts that have already recognized such application.
                                  9            20.   Each of Defendant’s violations of the Americans with Disabilities Act
                                 10    is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                 11    Act provides that any violation of the ADA constitutes a violation of the Unruh
                                 12    Civil Rights Act. Cal. Civ. Code, § 51(f).
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                                                     Further, Defendant’s actions and inactions denied Plaintiff full and
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                                 13            21.
                                 14    equal access to their accommodations, facilities, and services.        A substantial
                                 15    motivating reason for Defendant to deny Plaintiff access was the perception of
                                 16    Plaintiff’s disability.   Defendant’s denial of Plaintiff’s accessibility was a
                                 17    substantial motivating reason for Defendant’s conduct. Plaintiff was harmed due
                                 18    to Defendant’s conduct. Defendant’s actions and inactions were a substantial factor
                                 19    in causing the lack of access to Plaintiff. Unruh Civil Rights Act. Cal. Civ. Code,
                                 20    § 51.
                                 21            22.   Inaccessible or otherwise non-compliant websites pose significant
                                 22    access barriers to blind and visually-impaired persons.           Common barriers
                                 23    encountered by blind and visually impaired persons include, but are not limited to,
                                 24    the following:
                                 25                  a. A text equivalent for every non-text element is not provided;
                                 26                  b. Title frames with text are not provided for identification and
                                 27                     navigation;
                                 28                  c. Equivalent text is not provided when using scripts;
                                                                                 6
                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                d. Forms with the same information and functionality as for sighted
                                  2                   persons are not provided;
                                  3                e. Information about the meaning and structure of content is not
                                  4                   conveyed by more than the visual presentation of content;
                                  5                f. Text cannot be resized without assistive technology up to 200
                                  6                   percent without loss of content or functionality;
                                  7                g. If the content enforces a time limit, the user is not able to extend,
                                  8                   adjust or disable it;
                                  9                h. Web pages do not have titles that describe the topic or purpose;
                                 10                i. The purpose of each link cannot be determined from the link text
                                 11                   alone or from the link text and its programmatically determined link
                                 12                   context;
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                                 13                j. One or more keyboard operable user interface lacks a mode of
                                 14                   operation where the keyboard focus indicator is discernible;
                                 15                k. The default human language of each web page cannot be
                                 16                   programmatically determined;
                                 17                l. When a component receives focus, it may initiate a change in
                                 18                   context;
                                 19                m. Changing the setting of a user interface component may
                                 20                   automatically cause a change of context where the user has not been
                                 21                   advised before using the component;
                                 22                n. Labels or instructions are not provided when content requires user
                                 23                   input;
                                 24                o. In content which is implemented by using markup languages,
                                 25                   elements do not have complete start and end tags, elements are not
                                 26                   nested according to their specifications, elements may contain
                                 27                   duplicate attributes and/or any IDs are not unique;
                                 28                p. Inaccessible Portable Document Format (PDFs); and
                                                                                7
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                 q. The name and role of all User Interface elements cannot be
                                  2                    programmatically determined; items that can be set by the user
                                  3                    cannot be programmatically set; and/or notification of changes to
                                  4                    these items is not available to user agents, including assistive
                                  5                    technology.
                                  6                              FACTUAL BACKGROUND
                                  7          23.    Defendant offers the https://aki-home.com/ website to the public. The
                                  8    website offers features which should allow all consumers to access the goods and
                                  9    services which Defendant offers in connection with its physical locations. The
                                 10    goods and services offered by Defendant include, but are not limited to, the
                                 11    following, which allow consumers to access items such as furniture for living room
                                 12    including living room sets, recliners, sectionals, sofas, loveseats, chairs, chaises,
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                                 13    futon, soda bed, sleeper sofa, accent tables, bookcases, ottomans, poufs, media
                                 14    consoles, and fireplaces; dining room furniture such as dining sets, counter height,
                                 15    small space dining, buffets, carts, dining tables, dining chairs, dining benches, and
                                 16    bar stools as well as dinnerware collections, dinnerware sets, white dinnerware,
                                 17    acacia & wood dinnerware, Japanese dinnerware, drinkware & barware, serveware
                                 18    & silverware, and table linens; bedroom furniture including bedroom sets, beds,
                                 19    mattresses, foundations, dressers, mirrors, chests, nightstands, bedroom accents,
                                 20    and kids bedroom as well as bedding including comforters, duvet covers & shams,
                                 21    comforter sets & quilt sets, sheet sets, blankets, throws, hotel style bedding, n-cool
                                 22    bedding, and pillows; rugs & curtains including area rugs, accent rugs, indoor-
                                 23    outdoor rugs, Japanese Igusa rugs, rug pads, door mats, joint mats, window panels,
                                 24    sheer panels, curtain rods, tension rods, and living fabric; décor, green & outdoor
                                 25    items including botanicals, plants, outdoor items, garden, home accessories, wall
                                 26    décor, mirrors, and lighting; kitchen items such as cooking tools, Japanese
                                 27    kitchenware, kitchen organizer, sink ware and cleaning items; bath & laundry items
                                 28    including shower caddies, racks, bath wall hooks, bath rugs, bath towels, soap
                                                                                 8
                                                       CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1    pumps, dishes, toothbrush holders, shower curtains, body & face wash, , vanity,
                                  2    toilet items, and laundry bags, drying racks, hangers, floor & bath cleaning, trash
                                  3    cans, and lint rollers,; storage such as closet storage, living storage, home office,
                                  4    Japan assortment, and other storage.      Furthermore, Defendant’s website allows
                                  5    consumers to access information regarding gift cards, registry, account information,
                                  6    discounts, shipping & delivery information, store locator, careers, clearance items,
                                  7    return policy, extended warranty, recall information, financing, subscriptions, and
                                  8    social media pages including Facebook, Pinterest, and Instagram.
                                  9          24.    Based on information and belief, it is Defendant’s policy and practice
                                 10    to deny Plaintiff and Class Members, along with other blind or visually-impaired
                                 11    users, access to Defendant’s website, and to therefore specifically deny the goods
                                 12    and services that are offered and integrated with Defendant’s stores. Due to
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                                       Defendant’s failure and refusal to remove access barriers on its website, Plaintiff
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                                 13
                                 14    and other visually-impaired persons have been and are still being denied equal and
                                 15    full access to Defendant’s stylish, affordable, and convenient furniture offered to
                                 16    the public through Defendant’s Website.
                                 17    DEFENDANT’S BARRIERS ON UNRUH CIVIL RIGHTS ACT. CAL. CIV.
                                 18       CODE, § 51(f) DENY PLAINTIFF AND CLASS MEMBERS ACCESS
                                 19          25.    Plaintiff is a visually-impaired and legally blind person, who cannot
                                 20    use a computer without the assistance of screen-reading software. However,
                                 21    Plaintiff is a proficient user of the JAWS or NV ACCESS screen-reader(s) as well
                                 22    as Mac’s VoiceOver and uses it to access the internet. Plaintiff has visited
                                 23    https://aki-home.com/ on several separate occasions using the JAWS and/or
                                 24    VoiceOver screen-readers.
                                 25          26.    During Plaintiff’s numerous visits to Defendant’s website, Plaintiff
                                 26    encountered multiple access barriers which denied Plaintiff full and equal access to
                                 27    the facilities, goods, and services offered to the public and made available to the
                                 28    public on Defendant’s website. Due to the widespread access barriers Plaintiff and
                                                                                 9
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                                  1   Class Members encountered on Defendant’s website, Plaintiff and Class Members
                                  2   have been deterred, on a regular basis, from accessing Defendant’s website.
                                  3   Similarly, the access barriers Plaintiff has encountered on Defendant’s website have
                                  4   deterred Plaintiff and Class Members from visiting Defendant’s brick-and-mortar
                                  5   stores.
                                  6         27.    While attempting to navigate Defendant’s website, Plaintiff and Class
                                  7   Members encountered multiple accessibility barriers for blind or visually-impaired
                                  8   people that include, but are not limited to, the following:
                                  9                a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text
                                 10                   is invisible code embedded beneath a graphic or image on a website
                                 11                   that is read to a user by a screen-reader. For graphics or images to
                                 12                   be fully accessible for screen-reader users, it requires that alt-text
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                                 13                   be coded with each graphic or image so that screen-reading
                                 14                   software can speak the alt-text to describe the graphic or image
                                 15                   where a sighted user would just see the graphic or image. Alt-text
                                 16                   does not change the visual presentation, but instead a text box
                                 17                   shows when the cursor hovers over the graphic or image. The lack
                                 18                   of alt-text on graphics and images prevents screen-readers from
                                 19                   accurately vocalizing a description of the image or graphic. As a
                                 20                   result, Plaintiff and Class Members who are blind and visually-
                                 21                   impaired customers are unable to shop from an assortment of
                                 22                   furniture, rugs & curtains, décor, green & outdoor, dining, kitchen,
                                 23                   bedding, bath & laundry, storage, office & more, access
                                 24                   information regarding gift cards, registry, account information,
                                 25                   discounts, shipping & delivery information, store locator, careers,
                                 26                   clearance items, return policy, extended warranty, recall
                                 27                   information, financing, subscriptions, and social media pages, or
                                 28                   complete any purchases;
                                                                                10
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1                b. Empty Links that contain No Text causing the function or purpose
                                  2                   of the link to not be presented to the user. This can introduce
                                  3                   confusion for keyboard and screen-reader users;
                                  4                c. Redundant Links where adjacent links go to the same URL address
                                  5                   which results in additional navigation and repetition for keyboard
                                  6                   and screen-reader users; and
                                  7                d. Linked Images missing alt-text, which causes problems if an image
                                  8                   within a link does not contain any descriptive text and that image
                                  9                   does not have alt-text. A screen reader then has no content to
                                 10                   present the user as to the function of the link, including information
                                 11                   or links for and contained in PDFs.
                                 12         28.    Recently in 2021, Plaintiff attempted to do business with Defendant
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                                      on Defendant’s website and Plaintiff encountered barriers to access on Defendant’s
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                                 13
                                 14   website. Plaintiff has visited prior iterations of the website, https://aki-home.com/,
                                 15   and also encountered barriers to access on Defendant’s website.
                                 16         29.    Despite past and recent attempts to do business with Defendant on its
                                 17   website, the numerous access barriers contained on the website and encountered by
                                 18   Plaintiff, have denied Plaintiff full and equal access to Defendant’s website.
                                 19   Plaintiff and Class Members, as a result of the barriers on Defendant’s website,
                                 20   continue to be deterred on a regular basis from accessing Defendant’s website.
                                 21   Likewise, based on the numerous access barriers Plaintiff and Class Members have
                                 22   been deterred and impeded from the full and equal enjoyment of goods and services
                                 23   offered in Defendant’s stores and from making purchases at such physical locations.
                                 24         DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE
                                 25         30.    Due to the inaccessibility of the Defendant’s website, blind and
                                 26   visually-impaired customers such as Plaintiff, who need screen-readers, cannot
                                 27   fully and equally use or enjoy the facilities and services Defendant offers to the
                                 28   public on its website. The access barriers Plaintiff has encountered have caused a
                                                                                11
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                                  1   denial of Plaintiff’s full and equal access in the past and now deter Plaintiff on a
                                  2   regular basis from accessing the website.
                                  3         31.    These access barriers on Defendant’s website have deterred Plaintiff
                                  4   from visiting Defendant’s physical locations and enjoying them equal to sighted
                                  5   individuals because: Plaintiff was unable to find the locations and hours of
                                  6   operation of Defendant’s stores on its website, preventing Plaintiff from visiting the
                                  7   locations to view and purchase products and/or services. Plaintiff and Class
                                  8   Members intend to visit the Defendant’s locations in the near future if Plaintiff and
                                  9   Class Members could access Defendant’s website.
                                 10         32.    If the website were equally accessible to all, Plaintiff and Class
                                 11   Members could independently navigate the website and complete a desired
                                 12   transaction, as sighted individuals do.
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                                                   Plaintiff, through Plaintiff’s attempts to use the website, has actual
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                                 13         33.
                                 14   knowledge of the access barriers that make these services inaccessible and
                                 15   independently unusable by blind and visually-impaired people.
                                 16         34.    Because simple compliance with WCAG 2.1 would provide Plaintiff
                                 17   and Class Members who are visually-impaired consumers with equal access to the
                                 18   website, Plaintiff and Class Members allege that Defendant engaged in acts of
                                 19   intentional discrimination, including, but not limited to, the following policies or
                                 20   practices: constructing and maintaining a website that is inaccessible to visually-
                                 21   impaired individuals, including Plaintiff and Class Members; failing to construct
                                 22   and maintain a website that is sufficiently intuitive so as to be equally accessible to
                                 23   visually-impaired individuals, including Plaintiff and Class Members; and failing
                                 24   to take actions to correct these access barriers in the face of substantial harm and
                                 25   discrimination to blind and visually-impaired consumers, such as Plaintiff and Class
                                 26   Members, as a member of a protected class.
                                 27         35.    The Defendant uses standards, criteria or methods of administration
                                 28   that have the effect of discriminating or perpetuating the discrimination against
                                                                                12
                                                      CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1   others, as alleged herein.
                                  2         36.    The ADA expressly contemplates the injunctive relief that Plaintiff
                                  3   seeks in this action. In relevant part, the ADA requires:
                                  4
                                            In the case of violations of … this title, injunctive relief shall include
                                  5         an order to alter facilities to make such facilities readily accessible to
                                  6         and usable by individuals with disabilities …. Where appropriate,
                                            injunctive relief shall also include requiring the … modification of a
                                  7         policy …. 42 U.S.C. § 12188(a)(2).
                                  8         37.    Because Defendant’s website has never been equally accessible, and
                                  9   because Defendant lacks a corporate policy that is reasonably calculated to cause
                                 10   the Defendant’s website to become and remain accessible, Plaintiff invokes 42
                                 11   U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring the Defendant to
                                 12   retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
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                                 13   with WCAG 2.1 guidelines for Defendant’s website.             The website must be
                                 14   accessible for individuals with disabilities who use desktop computers, laptops,
                                 15   tablets, and smartphones. Plaintiff and Class Members seek that this permanent
                                 16   injunction require Defendant to cooperate with the agreed-upon consultant to: train
                                 17   Defendant’s employees and agents who develop the website on accessibility
                                 18   compliance under the WCAG 2.1 guidelines; regularly check the accessibility of
                                 19   the website under the WCAG 2.1 guidelines; regularly test user accessibility by
                                 20   blind or vision-impaired persons to ensure that the Defendant’s website complies
                                 21   under the WCAG 2.1 guidelines; and develop an accessibility policy that is clearly
                                 22   disclosed on the Defendant’s website, with contact information for users to report
                                 23   accessibility-related problems and require that any third-party vendors who
                                 24   participate on the Defendant’s website to be fully accessible to the disabled by
                                 25   conforming with WCAG 2.1.
                                 26         38.    If Defendant’s website were accessible, Plaintiff and Class Members
                                 27   could independently access information about locations, hours, services offered,
                                 28   and goods available for online purchase.
                                                                                 13
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                                  1         39.    Although Defendant may currently have centralized policies regarding
                                  2   maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                  3   reasonably calculated to make Defendant’s website fully and equally accessible to,
                                  4   and independently usable by, blind and other visually-impaired consumers.
                                  5         40.    Defendant has, upon information and belief, invested substantial sums
                                  6   in developing and maintaining Defendant’s website, and Defendant has generated
                                  7   significant revenue from Defendant’s website. These amounts are far greater than
                                  8   the associated cost of making Defendant’s website equally accessible to visually
                                  9   impaired customers.
                                 10         41.    Without injunctive relief, Plaintiff and Class Members will continue to
                                 11   be unable to independently use Defendant’s website, violating their rights.
                                 12                          CLASS ACTION ALLEGATIONS
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                                 13         42.    Plaintiff, on behalf of herself and all others similarly situated, seeks to
                                 14   certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2), the Nationwide
                                 15   class is initially defined as follows:
                                 16          all legally blind individuals who have attempted to access Defendant’s
                                             website by the use of a screen reading software during the applicable
                                 17          limitations period up to and including final judgment in this action.
                                 18         43. The California class is initially defined as follows:
                                 19         all legally blind individuals in the State of California who have
                                            attempted to access Defendant’s website by the use of a screen reading
                                 20         software during the applicable limitations period up to and including
                                 21         final judgment in this action.
                                            44.    Excluded from each of the above Classes is Defendant, including any
                                 22
                                      entity in which Defendant has a controlling interest, is a parent or subsidiary, or
                                 23
                                      which is controlled by Defendant, as well as the officers, directors, affiliates, legal
                                 24
                                      representatives, heirs, predecessors, successors, and assigns of Defendant. Also
                                 25
                                      excluded are the judge and the court personnel in this case and any members of their
                                 26
                                      immediate families. Plaintiff reserves the right to amend the Class definitions if
                                 27
                                      discovery and further investigation reveal that the Classes should be expanded or
                                 28
                                                                                14
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                                  1   otherwise modified.
                                  2         45.    Numerosity: Fed. R. Civ. P. 23(a)(1). This action has been brought
                                  3   and may properly be maintained as a class action against Defendant under Rules
                                  4   23(b)(1)(B) and 23(b)(3) of the Federal Rules of Civil Procedure. While the exact
                                  5   number and identities of other Class Members are unknown to Plaintiff at this time,
                                  6   Plaintiff is informed and believes that there are hundreds of thousands of Members
                                  7   in the Class. Based on the number of customers who have visited Defendant’s
                                  8   California stores, it is estimated that the Class is composed of more than 10,000
                                  9   persons. Furthermore, even if subclasses need to be created for these consumers, it
                                 10   is estimated that each subclass would have thousands of Members. The Members
                                 11   of the Class are so numerous that joinder of all Members is impracticable and the
                                 12   disposition of their claims in a class action rather than in individual actions will
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                                 13   benefit the parties and the courts.
                                 14         46.    Typicality: Plaintiff and Class Members’ claims are typical of the
                                 15   claims of the Members of the Class as all Members of the Class are similarly
                                 16   affected by Defendant’s wrongful conduct, as detailed herein.
                                 17         47.    Adequacy: Plaintiff will fairly and adequately protect the interests of
                                 18   the Members of the Class in that they have no interests antagonistic to those of the
                                 19   other Members of the Class. Plaintiff has retained experienced and competent
                                 20   counsel.
                                 21         48.    Superiority: A class action is superior to other available methods for
                                 22   the fair and efficient adjudication of this controversy. Since the damages sustained
                                 23   by individual Class Members may be relatively small, the expense and burden of
                                 24   individual litigation makes it impracticable for the Members of the Class to
                                 25   individually seek redress for the wrongful conduct alleged herein. Furthermore, the
                                 26   adjudication of this controversy through a class action will avoid the potentially
                                 27   inconsistent and conflicting adjudications of the claims asserted herein. There will
                                 28   be no difficulty in the management of this action as a class action. If Class treatment
                                                                                15
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                                  1   of these claims were not available, Defendant would likely unfairly receive
                                  2   thousands of dollars or more in improper revenue.
                                  3         49.      Common Questions Predominate: Common questions of law and fact
                                  4   exist as to all Members of the Class and predominate over any questions solely
                                  5   affecting individual Members of the Class. Among the common questions of law
                                  6   and fact applicable to the Class are:
                                  7                i. Whether Defendant’s website, https://aki-home.com/, is
                                  8                   inaccessible to the visually-impaired who use screen reading
                                  9                   software to access internet websites;
                                 10                ii. Whether Plaintiff and Class Members have been unable to access
                                 11                   https://aki-home.com/ through the use of screen reading software;
                                 12               iii. Whether the deficiencies in Defendant’s website violate the
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                                 13                   Americans with Disabilities Act of 1990, 42 U.S.C. § 12181 et seq.;
                                 14               iv. Whether the deficiencies in Defendant’s website violate the
                                 15                   California Unruh Civil Rights Act, California Civil Code § 51 et seq.;
                                 16                v. Whether, and to what extent, injunctive relief should be imposed on
                                 17                   Defendant to make https://aki-home.com/ readily accessible to and
                                 18                   usable by visually-impaired individuals;
                                 19               vi. Whether Plaintiff and Class Members are entitled to recover statutory
                                 20                   damages with respect to Defendant’s wrongful conduct; and
                                 21               vii. Whether further legal and/or equitable relief should be granted by the
                                 22                   Court in this action.
                                 23         50.      The class is readily definable, and prosecution of this action as a Class
                                 24   action will reduce the possibility of repetitious litigation. Plaintiff knows of no
                                 25   difficulty which will be encountered in the management of this litigation which
                                 26   would preclude their maintenance of this matter as a Class action.
                                 27         51.      The prerequisites to maintaining a class action for injunctive relief or
                                 28   equitable relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused
                                                                                 16
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                                  1   to act on grounds generally applicable to the Class, thereby making appropriate final
                                  2   injunctive or equitable relief with respect to the Class as a whole.
                                  3          52.    The prerequisites to maintaining a class action for injunctive relief or
                                  4   equitable relief pursuant to Rule 23(b)(3) are met, as questions of law or fact
                                  5   common to the Class predominate over any questions affecting only individual
                                  6   Members; and a class action is superior to other available methods for fairly and
                                  7   efficiently adjudicating the controversy.
                                  8          53.    The prosecution of separate actions by Members of the Class would
                                  9   create a risk of establishing inconsistent rulings and/or incompatible standards of
                                 10   conduct for Defendant. Additionally, individual actions may be dispositive of the
                                 11   interest of all Members of the Class, although certain Class Members are not parties
                                 12   to such actions.
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                                                    Defendant’s conduct is generally applicable to the Class as a whole
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                                 13          54.
                                 14   and Plaintiff seeks, inter alia, equitable remedies with respect to the Class as a
                                 15   whole. As such, Defendant’s systematic policies and practices make declaratory
                                 16   relief with respect to the Class as a whole appropriate.
                                 17                                         COUNT I
                                 18      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                 19                                 U.S.C. § 12181 ET SEQ.
                                 20         (On Behalf of Plaintiff, the Nationwide Class, and the California Class)
                                 21          55.    Plaintiff alleges and incorporates herein by reference each and every
                                 22   allegation contained in paragraphs 1 through 54, inclusive, of this Complaint as if
                                 23   set forth fully herein.
                                 24          56.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                 25   provides: “No individual shall be discriminated against on the basis of disability in
                                 26   the full and equal enjoyment of the goods, services, facilities, privileges,
                                 27   advantages, or accommodations of any place of public accommodation by any
                                 28   person who owns, leases (or leases to), or operates a place of public
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                                  1   accommodation.” 42 U.S.C. § 12182(a).
                                  2         57.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                  3   discrimination also includes, among other things: “a failure to make reasonable
                                  4   modifications in policies, practices, or procedures, when such modifications are
                                  5   necessary to afford such goods, services, facilities, privileges, advantages, or
                                  6   accommodations to individuals with disabilities, unless the entity can demonstrate
                                  7   that making such modifications would fundamentally alter the nature of such goods,
                                  8   services, facilities, privileges, advantages or accommodations”; and “a failure to
                                  9   take such steps as may be necessary to ensure that no individual with a disability is
                                 10   excluded, denied services, segregated or otherwise treated differently than other
                                 11   individuals because of the absence of auxiliary aids and services, unless the entity
                                 12   can demonstrate that taking such steps would fundamentally alter the nature of the
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                                 13   good, service, facility, privilege, advantage, or accommodation being offered or
                                 14   would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                 15   accommodation shall take those steps that may be necessary to ensure that no
                                 16   individual with a disability is excluded, denied services, segregated or otherwise
                                 17   treated differently than other individuals because of the absence of auxiliary aids
                                 18   and services, unless the public accommodation can demonstrate that taking those
                                 19   steps would fundamentally alter the nature of the goods, services, facilities,
                                 20   privileges, advantages, or accommodations being offered or would result in an
                                 21   undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In
                                 22   order to be effective, auxiliary aids and services must be provided in accessible
                                 23   formats, in a timely manner, and in such a way as to protect the privacy and
                                 24   independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                 25         58.    Defendant’s store locations are “public accommodations” within the
                                 26   meaning of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in
                                 27   revenue from the sale of its amenities and services, privileges, advantages, and
                                 28   accommodations in California through its locations, related services, privileges,
                                                                               18
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                                  1   advantages, and accommodations, and its Website, https://aki-home.com/, is a
                                  2   service, privilege, advantage, and accommodation provided by Defendant that is
                                  3   inaccessible to customers who are visually-impaired like Plaintiff.                 This
                                  4   inaccessibility denies visually-impaired customers full and equal enjoyment of and
                                  5   access to the facilities and services, privileges, advantages, and accommodations
                                  6   that Defendant made available to the non-disabled public. Defendant is violating
                                  7   the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., in that Defendant
                                  8   denies visually-impaired customers the services, privileges, advantages, and
                                  9   accommodations provided by https://aki-home.com/. These violations are ongoing.
                                 10          59.    Defendant’s actions constitute intentional discrimination against
                                 11   Plaintiff and Class Members on the basis of a disability in violation of the
                                 12   Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. in that: Defendant has
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                                 13   constructed a website that is inaccessible to Plaintiff and Class Members; maintains
                                 14   the website in this inaccessible form; and has failed to take adequate actions to
                                 15   correct these barriers even after being notified of the discrimination that such
                                 16   barriers cause.
                                 17          60.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                 18   set forth and incorporated therein, Plaintiff requests relief as set forth below.
                                 19                                        COUNT II
                                 20     VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
                                 21                               CIVIL CODE § 51 ET SEQ.
                                 22                      (On Behalf of Plaintiff and the California Class)
                                 23          61.    Plaintiff alleges and incorporates herein by reference each and every
                                 24   allegation contained in paragraphs 1 through 60, inclusive, of this Complaint as if
                                 25   set forth fully herein.
                                 26          62.    Defendant’s locations are “business establishments” within the
                                 27   meaning of the California Civil Code § 51 et seq. Defendant generates millions of
                                 28   dollars in revenue from the sale of its services in California through its store
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                                  1   locations and related services, and https://aki-home.com/ is a service provided by
                                  2   Defendant that is inaccessible to customers who are visually-impaired like Plaintiff
                                  3   and Class Members. This inaccessibility denies visually-impaired customers full
                                  4   and equal access to Defendant’s facilities and services that Defendant makes
                                  5   available to the non-disabled public. Defendant is violating the Unruh Civil Rights
                                  6   Act, California Civil Code § 51 et seq., in that Defendant is denying visually-
                                  7   impaired customers the services provided by https://aki-home.com/.             These
                                  8   violations are ongoing.
                                  9         63.    Defendant’s actions constitute intentional discrimination against
                                 10   Plaintiff and Class Members on the basis of a disability in violation of the Unruh
                                 11   Civil Rights Act, Cal. Civil Code § 51 et seq. in that: Defendant has constructed a
                                 12   website that is inaccessible to Plaintiff and Class Members; maintains the website
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                                 13   in this inaccessible form; and has failed to take adequate actions to correct these
                                 14   barriers even after being notified of the discrimination that such barriers cause.
                                 15         64.    Defendant is also violating the Unruh Civil Rights Act, California
                                 16   Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
                                 17   violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                 18   of the California Civil Code provides that a violation of the right of any individual
                                 19   under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                 20         65.    The actions of Defendant were and are in violation of the Unruh Civil
                                 21   Rights Act, California Civil Code § 51 et seq., and, therefore, Plaintiff and Class
                                 22   Members are entitled to injunctive relief remedying the discrimination.
                                 23         66.    Plaintiff and Class Members are also entitled to statutory minimum
                                 24   damages pursuant to California Civil Code § 52 for each and every offense.
                                 25         67.    Plaintiff and Class Members are also entitled to reasonable attorneys’
                                 26   fees and costs.
                                 27         68.    Plaintiff and Class Members are also entitled to a preliminary and
                                 28   permanent injunction enjoining Defendant from violating the Unruh Civil Rights
                                                                                20
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                                  1   Act, California Civil Code § 51 et seq., and requiring Defendant to take the steps
                                  2   necessary to make https://aki-home.com/ readily accessible to and usable by
                                  3   visually-impaired individuals.
                                  4                                 PRAYER FOR RELIEF
                                  5         WHEREFORE, Plaintiff, individually and on behalf of all Class Members,
                                  6   respectfully requests that the Court enter judgment in her favor and against
                                  7   Defendant as follows:
                                  8         A.     For an Order certifying the Nationwide Class and California Class as
                                  9                defined herein and appointing Plaintiffs and her Counsel to represent
                                 10                the Nationwide Class and the California Class;
                                 11         B.     A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                 12                12188(a)(1) and (2) and section 52.1 of the California Civil Code
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                                 13                enjoining Defendant from violating the Unruh Civil Rights Act and
                                 14                ADA and requiring Defendant to take the steps necessary to make
                                 15                https://aki-home.com/ readily accessible to and usable by visually-
                                 16                impaired individuals;
                                 17         C.     An award of statutory minimum damages of $4,000 per offense per
                                 18                person pursuant to section 52(a) of the California Civil Code.
                                 19         D.     For attorneys’ fees and expenses pursuant to California Civil Code §§
                                 20                52(a), 52.1(h), and 42 U.S.C. § 12205;
                                 21         E.     For pre-judgment interest to the extent permitted by law;
                                 22         F.     For costs of suit; and
                                 23         G.     For such other and further relief as the Court deems just and proper.
                                 24                             DEMAND FOR JURY TRIAL
                                 25         Plaintiff, on behalf of herself and all others similarly situated, hereby
                                 26   demands a jury trial for all claims so triable.
                                 27   ///
                                 28   ///
                                                                                 21
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                                  1   Dated: August 20, 2021                    Respectfully Submitted,
                                  2
                                                                                /s/ Thiago M. Coelho
                                  3                                             Thiago M. Coelho
                                  4                                             WILSHIRE LAW FIRM
                                                                                Attorney for Plaintiff and
                                  5                                             Proposed Class
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